     Case 2:10-md-02179-CJB-DPC Document 4726-2 Filed 11/25/11 Page 1 of 3




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA


In re: OILSPILL by the Oil rig              *   MDL NO. 2179
        “Deepwater Horizon: in the          *
        Gulf of Mexico, on April 20, 2010"  *
                                            *
IN RE: TRITON ASSET LEASING                 *
 GmbH, et al                                *   SECTION "J"
                                            *
                                            *   JUDGE BARBIER
This Document relates to Pleading Bundle C, *
                                            *   MAG. JUDGE SHUSHAN
             2:11:CV-00348                  *
******************************************************************************



    PLAQUEMINES PARISH SCHOOL BOARD’S MEMORANDUM IN OPPOSITION TO
      PSC’S REQUEST FOR COURT SUPERVISED ACCOUNT AND RESERVE FOR
                  COMMON BENEFIT LITIGATION EXPENSES
.
        This memorandum is respectfully submitted on behalf of Louisiana ex rel. Plaquemines

Parish School Board (“PPSB”), plaintiff in civil action no. 2:11-CV-00348, in opposition to the

PSC’s motion to establish a court-supervised account and reserve for common benefit litigation

expenses; the opposition is made with full reservation of the rights granted to it under Pre-Trial

Order 33 and Pre-Trial Order 20 to preserve its challenge to the jurisdiction of this Court and to

pursue its independent claim either herein or in Louisiana state court to which its action should be

remanded.

        This action, filed in state court under state law, was improperly removed to this Court, and

Plaintiff, represented by undersigned counsel, has not relied on any of the PSC’s work in pursuing

its claims, nor does it expect to do so. PPSB’s damages are unique; and it intends to rely upon its

own experts in establishing liability, protecting its interests, and proving its damages. The work of

                                                -1-
    Case 2:10-md-02179-CJB-DPC Document 4726-2 Filed 11/25/11 Page 2 of 3




the PSC has not provided any benefit to PPSB, and therefore the PSC has no proper claim against

any portion of PPSB’s recovery.

       Moreover, this Court has no jurisdiction to impose charges against this state agency’s

recovery in an action under state law which has been improperly removed to federal court. In In re

Showa Denko K.K. L..Tryptophan Prod. Liab. Litig., 953 F.2d 162, 164 (4th Cir.1992), the Fourth

Circuit struck down the portion of the MDL judge's order that applied assessments to actions venued

in state courts, untransferred federal cases, and unfiled claims in which any MDL defendant is a

party or payor. See also In re Genetically Modified Rice Litig., 2010 U.S. Dist. LEXIS 19168 (E.D.

Mo. February 24, 2010), refusing to order a holdback in improperly removed state court cases.1


                                                       /s/ Robert E. Arceneaux
                                               ROBERT E. ARCENEAUX, (No. 1199)
                                               Robert E. Arceneaux, LLC
                                               47 Beverly Garden Drive
                                               Metairie, LA 70001
                                               Telephone: 504.833.7533
                                               Facsimile: 504.833.7612
                                               Email: rea7001@cox.net

                                               MARGARET E. WOODWARD (No. 13677)
                                               3701 Canal Street, Suite C
                                               New Orleans, Louisiana 70119
                                               Telephone: 504.301.4333
                                               Facsimile: 504.301.4365
                                               Email: mewno@aol.com

                                               Attorneys for Plaquemines Parish School Board




1
 The court subsequently reaffirmed its holding that it had no jurisdiction to order a holdback with
respect to state-court litigation, even as a litigant that was a party in a separate proceeding in the
MDL. See In re Genetically Modified Rice Litig., 2011 U.S. Dist. LEXIS 17211, at * 176-179
(E.D. Mo. February 11, 2011).

                                                 -2-
   Case 2:10-md-02179-CJB-DPC Document 4726-2 Filed 11/25/11 Page 3 of 3




                                 CERTIFICATE OF SERVICE


        I hereby certify that the above the above and foregoing Memorandum has been served on All
Counsel by electronically uploading the same to Lexis Nexis File & Serve in accordance with
Pretrial Order No. 12, and that the foregoing was electronically filed with the Clerk of Court of the
United States District Court for the Eastern District of Louisiana by using the CM/ECF System,
which will send a notice of electronic filing in accordance with the procedures established in MDL
2179, on this 25th day of Nov, 2011.

                                                      /s/ Robert E. Arceneaux,




                                                -3-
